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     Claim Plaintiffs Broadcom Limited,
11   Broadcom Corporation, Avago
     Technologies Limited, and Apple Inc.
12
13                 UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
14
     THE CALIFORNIA INSTITUTE OF   CASE NO. 2:16-cv-3714-GW(AGRx)
15   TECHNOLOGY,
                   Plaintiff,      DEFENDANTS’ STATEMENT
16                                 REGARDING SCOPE OF NEW
         vs.                       TRIAL AND ADDITIONAL
17                                 DISCOVERY
     BROADCOM LIMITED, BROADCOM
18   CORPORATION, AVAGO            FILED UNDER SEAL
     TECHNOLOGIES LIMITED, AND
19   APPLE INC.,                   Hon. George H. Wu
                                   United States District Court Judge
20                 Defendants.     Hearing Date: June 27, 2022
                                   Time: 8:30 AM
21                                 Place: Courtroom 9D

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                                                             Case No. 2:16-cv-3714-GW-AGRx
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         DEFENDANTS’ STATEMENT REGARDING SCOPE OF NEW TRIAL AND ADDITIONAL DISCOVERY
Case 2:16-cv-03714-GW-AGR Document 2396 Filed 08/11/22 Page 2 of 2 Page ID
                               #:157607


 1   BROADCOM LIMITED, BROADCOM
     CORPORATION, AVAGO
 2   TECHNOLOGIES LIMITED, AND
     APPLE INC.,
 3
                         Counterclaim-
 4                       Plaintiffs,
 5       vs.
 6   THE CALIFORNIA INSTITUTE OF
     TECHNOLOGY,
 7
                         Counterclaim-
 8                       Defendant.
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                                                             Case No. 2:16-cv-3714-GW-AGRx
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         DEFENDANTS’ STATEMENT REGARDING SCOPE OF NEW TRIAL AND ADDITIONAL DISCOVERY
